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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                           Crim. No. 17-182 (RDM)
 GEORGE PAPADOPOULOS,


               Defendant.



                    GOVERNMENT’S SENTENCING MEMORANDUM

       The government submits this memorandum in connection with the sentencing of George

Papadopoulos scheduled for September 7, 2018. On October 5, 2017, Papadopoulos pleaded guilty

to one count of making false statements in violation of 18 U.S.C. § 1001(a). The government does

not take a position with respect to a particular sentence to be imposed, but respectfully submits

that a sentence of incarceration, within the applicable Guidelines range of 0 to 6 months’

imprisonment, is appropriate and warranted.

       The defendant’s crime was serious and caused damage to the government’s investigation

into Russian interference in the 2016 presidential election. The defendant lied in order to conceal

his contacts with Russians and Russian intermediaries during the campaign and made his false

statements to investigators on January 27, 2017, early in the investigation, when key investigative

decisions, including who to interview and when, were being made. The defendant was explicitly

notified of the seriousness of the ongoing investigation, and was told that he may have important

information to provide. He was warned that lying to investigators was a “federal offense” that

could get him “in trouble.” Instead of telling the truth, however, the defendant repeatedly lied

throughout the interview in order to conceal the timing and significance of information the
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defendant had received regarding the Russians possessing “dirt” on Hillary Clinton, as well as his

own outreach to Russia on behalf of the campaign. The defendant’s false statements were intended

to harm the investigation, and did so.

        In light of the defendant’s conduct and the lack of mitigating circumstances, the principles

of sentencing set forth in 18 U.S.C. § 3553(a) call for a period of incarceration.

        Offense Conduct

        Although the defendant’s principal offense conduct is set forth in the Statement of Offense

and the Presentence Investigation Report (PSR), the government notes there are particular facts to

underscore for purposes of sentencing.

        First, the defendant chose to meet with investigators and lie to them. The interview on

January 27, 2017 was not a hurried or forced encounter: the agents met the defendant where he

was living at the time, they told him they wanted his help with a sensitive national security

investigation, and they made it clear the interview would be “completely voluntary.” (PSR ¶ 51).1

The defendant said he wanted to help the agents with their investigation, and he chose to travel

with the agents to the FBI office in Chicago, Illinois, where he proceeded to answer questions, and

to lie, for more than two hours.

        Second, before answering questions, the defendant was expressly warned that it is a crime

to lie to federal investigators. The agents told the defendant “the only thing we ask from you is

that you’re truthful with us . . . and the only way you’re getting in trouble today is if you do lie to

us.” The agents told the defendant that they were both FBI agents “and that means lying to us is

[] a federal offense.” Before proceeding with substantive questions, the agents stressed again that

the interview was “completely voluntary,” told the defendant that if he ever became uncomfortable


1
  The government provided to the defendant copies of the video and audio recordings of the FBI’s January 27, 2017
interview, along with a prepared transcript.

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they would take a break, and re-emphasized that “the only thing, we don’t want dis-information”

because that would “make[] our job a lot harder.” The defendant acknowledged the agents’

admonitions. He thereafter deliberately and repeatedly lied.

       Third, the defendant was expressly informed about the nature and importance of the

investigation.   The agents told him the FBI was investigating interference by the Russian

government in the 2016 presidential election and any connections between the Russian

government and the campaign. The agents told the defendant that he was in a position to provide

useful information because he had firsthand knowledge of the Trump campaign and “who, if

anybody, has [a] connection with Russia and what [] sort of connections there were.” The agents

emphasized that they “really want to nail down this Russian involvement in the election,” and

stressed that “this is an important issue for the government to figure out right now.” Thus, the

defendant knew that any lies he told had the potential to impede the FBI’s Russia investigation.

       Fourth, the defendant lied about his contacts with Russians and Russian intermediaries

during the course of the campaign to minimize both his own role as a witness and the extent of the

campaign’s knowledge of his contacts. As described in detail in the Statement of Offense and the

PSR, while serving as a policy advisor to the Trump campaign, the defendant met a professor of

diplomacy in London (the “Professor”) who introduced the defendant to a Russian woman (the

“Female Russian National”) and to a Russian national connected to the Russian Ministry of

Foreign Affairs (the “Russia MFA Connection”). (PSR ¶¶ 22-49). The Professor told the

defendant that the Russians had “dirt” on Hillary Clinton in the form of “thousands of emails,” and

the defendant had a series of communications over a period of months with the Professor, the

Female Russian National, and the Russia MFA Connection in which they discussed arranging a

meeting between Russian officials and the Trump campaign. (PSR ¶¶ 22-49).



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         Rather than acknowledging these contacts and communications, the defendant concealed

them from the FBI. He lied about their timing, extent, and nature. With respect to timing, the

defendant acknowledged that the Professor had told him about the Russians possessing “dirt” on

Clinton, but he stated multiple times that this occurred before he joined the Trump campaign and

that it was a “very strange coincidence” to be told of the “dirt” before he started working for the

campaign. 2 As the defendant well knew, this account was false: the defendant met the Professor

for the first time on or about March 14, 2016, after the defendant had already learned he would be

a foreign policy advisor for the Trump campaign; the Professor showed interest in the defendant

only after learning of his role on the campaign; and the Professor told the defendant about the

Russians possessing “dirt” on Clinton in late April 2016, more than a month after the defendant

had joined the campaign. The timing of the defendant’s receipt of this information was critical:

by falsely claiming that it occurred in February, before the defendant joined the Trump campaign,


2
  In several recent media appearances, the defendant’s spouse has claimed that the defendant “voluntarily reported”
to the FBI the Professor’s conversation with him about the “dirt” on Clinton. See CNN, Papadopoulos’ Wife Asks
Trump to Pardon Him, Says He’s ‘Loyal to the Truth,’ June 6, 2018 (claiming at approximately 4:08 that the defendant
“actually volunteered – he reported to the FBI about this meeting”); Fox News, Rethinking ‘Collusion’ and the George
Papadopoulos Case, June 4, 2018, (claiming at approximately 2:11 that the defendant “voluntarily reported to the FBI
at the time of their interview”); Chuck Ross, Papadopoulos’ Wife: Trump Aide Was ‘Absolutely Not’ Involved in
Russian Collusion, June 4, 2018, available at http://dailycaller.com/2018/06/04/mangiante-papadopoulos-collusion/
(stating that it was the “defendant who brought up” the matter).

To the contrary, the defendant identified the Professor only after being prompted by a series of specific questions
about when the defendant first learned about Russia’s disclosure of information related to the campaign and whether
the defendant had ever “received any information or anything like that from a [] Russian government official.” In
response, while denying he received any information from a Russian government official, the defendant identified the
Professor by name – while also falsely claiming he interacted with the Professor “before I was with Trump though.”
Over the next several minutes in the interview, the defendant repeatedly and falsely claimed that his interactions with
the Professor occurred before he was working for the Trump campaign, and he did not mention his discussion with
the Professor about the Russians possessing “dirt” on Clinton. That fact only came up after additional specific
questioning from the agents. The agents asked the defendant: “going back to the WikiLeaks and maybe the Russian
hacking and all that, were you ever made aware that the Russians had intent to disclose information [] ahead of time?
So before it became public? Did anyone ever tell you that the Russian government plans to release some information[,]
like tell the Trump team ahead of time[,] that that was going to happen?” The defendant responded, “No.” The agents
then skeptically asked, “No?” The defendant responded: “No, not on, no not the Trump [campaign], but I will tell
you something and – and this is . . . actually very good that we’re, that you just brought this up because I wasn’t
working with Trump at the time[.] I was working in London . . . with that guy [the Professor].” Only then, after
acknowledging that the agents had “brought this up” and lying about when he received the information, did the
defendant admit that the Professor had told him “the Russians had emails of Clinton.”

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the defendant hoped to convince the agents that his conversation with the Professor was simply a

“strange coincidence” and had nothing to do with his position in that campaign.

       The defendant also made false statements in an effort to minimize the extent and

importance of his communications with the Professor, including by referring to the Professor as

“a nothing” who was “just a guy . . . talk[ing] up connections or something,” even though the

defendant understood the Professor to have substantial connections to high-level Russian

government officials and that the Professor spoke with some of those officials in Moscow before

telling the defendant about the “dirt.” The defendant also falsely told the FBI that he met the

Female Russian National before he joined the campaign, that he had “no” relationship at all with

her, and that the extent of their communications was her sending emails—“Just, ‘Hi, how are you?’

. . . That’s it.” In truth, however, the defendant first met the Female Russian National on or about

March 24, 2016, after he had joined the campaign; he believed that she had connections to high-

level Russian government officials and could help him arrange a potential foreign policy trip to

Russia; he informed the campaign of his beliefs regarding her connections; and during the

campaign he emailed and spoke over Skype on numerous occasions with her about the potential

trip to Russia. The defendant also did not reveal his extensive interactions with the Russia MFA

Connection, including over Skype, even though he was asked if he had met during the campaign

with any Russian nationals or “[a]nyone with a Russian accent.”

       Fifth, the defendant’s lies were not only deliberate, but repeated. On at least a dozen

occasions during the interview, the defendant falsely insisted that his interactions with the

Professor took place before the defendant joined the Trump campaign. At various points during

the interview, the defendant said the interactions took place “prior to even talking to anybody on

Trump”; they had “nothing to do with Trump”; “this was before I even got with-with Trump”; “I



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wasn’t even on the Trump [] team”; “that wasn’t even on the radar”; “I wasn’t even on the orbit of

Trump at the time”; and “This isn’t like [the Professor’s] messaging me while I’m in April with

Trump or something.” The defendant also claimed over and over again that his interactions with

the Professor were a “very strange coincidence” – “what I’m telling you, it was very strange that

that even happened.” And to further conceal his communications with the Professor, the defendant

told yet another lie: as the agents asked the defendant additional questions about his

communications with the Professor, the defendant assured them he was being truthful and

transparent: “I’m just trying to, I’m giving you even the most minute transparent details”; “I’ve

been open, truthful about who I know, what I know”; “like I said, [] I want to help [], that’s all the

information that I have.”

       Sixth, the defendant had a chance to correct his false statements – he retained counsel, and

spoke with the FBI again in February 2017, but did not correct the record. Instead, as set forth in

the PSR, in an effort to put the investigation behind him, the defendant deactivated his Facebook

account that contained communications with the Professor and the Russian MFA Connection and

obtained a new phone.

       Seventh, the lies were material to the investigation. The defendant’s lies to the FBI in

January 2017 impeded the FBI’s investigation into Russian interference in the 2016 presidential

election. Most immediately, those statements substantially hindered investigators’ ability to

effectively question the Professor when the FBI located him in Washington, D.C. approximately

two weeks after the defendant’s January 27, 2017 interview. The defendant’s lies undermined

investigators’ ability to challenge the Professor or potentially detain or arrest him while he was

still in the United States. The government understands that the Professor left the United States on

February 11, 2017 and he has not returned to the United States since then.



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       The defendant’s lies also hindered the government’s ability to discover who else may have

known or been told about the Russians possessing “dirt” on Clinton. Had the defendant told the

FBI the truth when he was interviewed in January 2017, the FBI could have quickly taken

numerous investigative steps to help determine, for example, how and where the Professor

obtained the information, why the Professor provided the information to the defendant, and what

the defendant did with the information after receiving it.

       The government cannot definitively know what motivated the defendant to lie to the agents

on January 27, 2017. But the record shows that at the time of the interview, the defendant was

attempting to secure a job with the Trump Administration and had an incentive to protect the

Administration and minimize his own role as a witness. (PSR ¶ 50). In January 2017, the

defendant had several communications with officials of the incoming Administration in an effort

to obtain a high-level position with the National Security Council, the State Department, or the

Energy Department. On January 27, 2017, in the hours after being interviewed by the FBI, the

defendant submitted his biography and a description of work he did on the campaign in an effort

to obtain a position as a Deputy Assistant Secretary in the Energy Department. (PSR ¶ 50).

       Efforts to Cooperate

       The plea agreement entered into by the government and the defendant was not a standard

cooperation agreement, and the government did not agree to make a motion under U.S.S.G.

§ 5K1.1 based on cooperation by the defendant. Nevertheless, the government agreed to “bring to

the Court’s attention at sentencing the defendant’s efforts to cooperate with the Government, on

the condition that [the defendant] continues to respond and provide information regarding any and

all matters as to which the Government deems relevant.” (Plea Agreement p. 4). Pursuant to this

agreement, the Government provides the Court with the following information.



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       After the defendant was arrested at Dulles International Airport on July 27, 2017, he agreed

to meet with the government and answer questions. Over four days in August and September 2017,

the defendant sat for interviews with the government, pursuant to a proffer agreement, and

provided information about a range of topics.

       The defendant did not provide “substantial assistance,” and much of the information

provided by the defendant came only after the government confronted him with his own emails,

text messages, internet search history, and other information it had obtained via search warrants

and subpoenas well after the defendant’s FBI interview as the government continued its

investigation. The defendant also did not notify the government about a cellular phone he used in

London during the course of the campaign – that had on it substantial communications between

the defendant and the Professor – until his fourth and final proffer session. This cell phone was

not among the devices seized at the airport because it was already in the defendant’s family home

in Chicago. Upon request, the defendant provided that phone to the government and consented to

the search of that device.

       Following the proffer sessions in August and September 2017, the government arranged to

meet again with the defendant to ask further questions in late December 2017. However, upon

learning that the defendant had participated in a media interview with a national publication

concerning his case, the government canceled that meeting. (PSR ¶ 50). The government is aware

that the defendant and his spouse have participated in several additional media interviews

concerning his case.

       The Principles of Sentencing Call for a Sentence of Incarceration

       The government respectfully submits that in light of the defendant’s conduct, the principles

of sentencing set forth in 18 U.S.C. § 3553(a) call for a sentence of incarceration. The defendant’s



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crime was serious, both in terms of the underlying conduct and its effect on the investigation. The

defendant knew the questions he was asked by the FBI were important, and he knew his answers

were false at the time he gave them. His lies negatively affected the FBI’s Russia investigation,

and prevented the FBI from effectively identifying and confronting witnesses in a timely fashion.

His lies were not momentary lapses. He lied repeatedly over the course of more than two hours,

and his lies were designed to conceal facts he knew were critical: the importance of the information

he received from the Professor, and his own communications and contacts with Russians and

Russian intermediaries during the Trump campaign. The sentence imposed here should reflect the

fact that lying to federal investigators has real consequences, especially where the defendant lied

to investigators about critical facts, in an investigation of national importance, after having been

explicitly warned that lying to the FBI was a federal offense. The nature and circumstances of the

offense warrant a sentence of incarceration.

        In order to avoid unwarranted sentencing disparities in similar cases, the government notes

that a previous defendant charged by the Special Counsel’s Office who pleaded guilty to violating

18 U.S.C. § 1001(a), Alex van der Zwaan, was sentenced to a term of imprisonment of 30 days.

See United States v. van der Zwaan, 18 Cr. 31 (ABJ) (April 5, 2018). In imposing the sentence in

that case, Judge Jackson explained that “[l]ying would be wrong in any criminal investigation, and

this investigation also involves important questions of great national and international interest; it

involves our country’s and probably other countries’ national security, and the prospect of

potential foreign interference in the democratic processes that are fundamental to our freedom.”

(Id., Tr. at 31).

        Monetary Penalties




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       Based on the defendant’s offense level under the Guidelines, the applicable range for a fine

is $500 to $9,500. The defendant provided information about $10,000 in cash he received from a

foreign national whom he believed was likely an intelligence officer of a foreign country (other

than Russia). The defendant has stated that he kept that money in a safe pending his sentencing in

this case and Counsel for the defendant has consented to the imposition of this fine amount.

       Forfeiture is not applicable in this case.

       Conclusion

       For the reasons set forth above, the government respectfully submits that a sentence of

incarceration, within the applicable Guidelines range of 0 to 6 months’ imprisonment, and a $9,500

fine are warranted and appropriate.



                                                         Respectfully submitted,

                                                         ROBERT S. MUELLER III
                                                         Special Counsel


Dated: August 17, 2018                         By:       __/s/____________
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